Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 1 of 16 PageID# 518


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                             EASTERN DISTRICT OF VIRGINIA                       ""I"
                                       Alexandria Division



 UNITED STATES OF AMERICA                               No. l:19-CR-253-2


                                                        The Honorable T.S. Ellis, III

DARRYL JULIUS POLO,
                  a/k/a djppimp,

                        Defendant.


                                      PLEA AGREEMENT


       G.Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

Alexander P. Berrang, Assistant United States Attorney; Matthew A. Lamberti, Senior Counsel,

United States Department of Justice (collectively,"the United States"); the defendant, Darryl

Julius Polo, a/k/a djppimp; and the defendant's counsel have entered into an agreement pursuant

to Rule 11 ofthe Federal Rules of Criminal Procedure. The terms ofthe agreement are as

follows:


       1.      Offense and Maximum Penalties

       The defendant agrees to plead guilty to Counts One, Six, Eight, Eleven, and Sixteen of

the indictment.


       Count One charges the defendant with conspiracy to commit criminal copyright

infringement,in violation of Title 18, U.S. Code, Section 371. The maximum penalties for this

offense are 5 years ofimprisonment, 3 years ofsupervised release, a fine of$250,000 or twice

the amount of gross gain or loss(whichever is greater), full restitution, forfeiture of assets as

outlined below, and a $100 special assessment.
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 2 of 16 PageID# 519
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 3 of 16 PageID# 520
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 4 of 16 PageID# 521
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 5 of 16 PageID# 522
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 6 of 16 PageID# 523
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 7 of 16 PageID# 524
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 8 of 16 PageID# 525
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 9 of 16 PageID# 526
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 10 of 16 PageID# 527
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 11 of 16 PageID# 528
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 12 of 16 PageID# 529
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 13 of 16 PageID# 530
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 14 of 16 PageID# 531
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 15 of 16 PageID# 532
Case 1:19-cr-00253-TSE Document 132 Filed 12/12/19 Page 16 of 16 PageID# 533
